CaseCase
     8:03-cr-00077-CEH-UAM   Document
         8:03-cr-00077-JSM-TBM        1632 1615
                                 Document   Filed 07/26/06   Page 1 of 6Page
                                                   Filed 07/26/2006      PageID
                                                                             1 of 14331
                                                                                  6
CaseCase
     8:03-cr-00077-CEH-UAM   Document
         8:03-cr-00077-JSM-TBM        1632 1615
                                 Document   Filed 07/26/06   Page 2 of 6Page
                                                   Filed 07/26/2006      PageID
                                                                             2 of 14332
                                                                                  6
CaseCase
     8:03-cr-00077-CEH-UAM   Document
         8:03-cr-00077-JSM-TBM        1632 1615
                                 Document   Filed 07/26/06   Page 3 of 6Page
                                                   Filed 07/26/2006      PageID
                                                                             3 of 14333
                                                                                  6
CaseCase
     8:03-cr-00077-CEH-UAM   Document
         8:03-cr-00077-JSM-TBM        1632 1615
                                 Document   Filed 07/26/06   Page 4 of 6Page
                                                   Filed 07/26/2006      PageID
                                                                             4 of 14334
                                                                                  6
CaseCase
     8:03-cr-00077-CEH-UAM   Document
         8:03-cr-00077-JSM-TBM        1632 1615
                                 Document   Filed 07/26/06   Page 5 of 6Page
                                                   Filed 07/26/2006      PageID
                                                                             5 of 14335
                                                                                  6
CaseCase
     8:03-cr-00077-CEH-UAM   Document
         8:03-cr-00077-JSM-TBM        1632 1615
                                 Document   Filed 07/26/06   Page 6 of 6Page
                                                   Filed 07/26/2006      PageID
                                                                             6 of 14336
                                                                                  6
